         Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 1 of 18



CUNEO GILBERT & LADUCA, LLP
Charles J. LaDuca
Katherine Van Dyck
4725 Wisconsin Avenue, NW, Suite 200
Washington, DC 20016
Tel: (202) 789-3960
Fax: (202) 789-1813
charlesl@cuneolaw.com
kvandyck@cuneolaw.com

THE SULTZER LAW GROUP P.C.
Jason P. Sultzer, Esq. (Bar ID #: JS4546)
85 Civic Center Plaza, Suite 104
Poughkeepsie, NY 12601
Tel: (845) 483-7100
Fax: (888) 749-7747
sultzerj@thesultzerlawgroup.com

HALUNEN LAW
Amy E. Boyle
1650 IDS Center
80 South Eight Street
Minneapolis, MN 55402
Telephone: (612) 605-4098
Facsimile: (612) 605-4099
boyle@halunenlaw.com


                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


 TANYA MAYHEW, TANVEER                      :
 ALIBHAI, and TARA FESTA,                   :
 individually on behalf of themselves and   :
 all others similarly situated,             :       Case No. 16 CV 6981 (VB)
                                            :
        Plaintiffs,                         :   MEMORANDUM IN SUPPORT OF
                                            :      PLAINTIFFS’ MOTION FOR
 v.                                         :         ATTORNEYS’ FEES,
                                            :   REIMBURSEMENT OF EXPENSES,
 KAS DIRECT, LLC and S.C.                   :       AND SERVICE AWARDS
 JOHNNSON & SON, INC.,                      :
                                            :
        Defendants.                         :
                                            :
            Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 2 of 18



                                                  TABLE OF CONTENTS

TABLE OF CONTENTS ................................................................................................................ ii

I.        INTRODUCTION ...............................................................................................................1

II.       LITIGATION HISTORY ....................................................................................................2

III.      LEGAL STANDARD ..........................................................................................................4

IV.       ARGUMENT .......................................................................................................................5

          A.        THE REQUESTED FEE IS REASONABLE AND APPROPRIATE. .......................................5

                    1.         The time and labor expended by Class Counsel. .........................................5

                    2.         The magnitude and complexities of the litigation........................................6

                    3.         The risk of litigation.....................................................................................6

                    4.         The quality of representation. ......................................................................7

                    5.         The requested fee in relation to the settlement. ...........................................9

                    6.         Public policy considerations. .....................................................................10

          B.        CLASS COUNSEL SHOULD BE REIMBURSED FOR THEIR REASONABLE
                    LITIGATION EXPENSES. ...........................................................................................11

          C.        CLASS REPRESENTATIVES SHOULD RECEIVE SERVICE AWARDS TOTALING
                    $7,500.....................................................................................................................12

V.        CONCLUSION ..................................................................................................................13




                                                                      i
           Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 3 of 18



                                                  TABLE OF CONTENTS

Cases

   Behrens v. Wometco Enters., Inc., 118 F.R.D. 534 (S.D. Fla. 1988)........................................ 7

   Blessing v. Sirius XM Radio Inc., 507 F. App’x 1 (2d Cir. 2012) .................................... 4, 5, 8

   Clark v. Ecolab Inc., No. 04-4488, 2010 WL 1948198 (S.D.N.Y. May 11, 2010) ................ 13

   Cunningham v. Suds Pizza, Inc., 290 F. Supp. 3d 214 (W.D.N.Y. 2017) ............................ 6, 8

   DeLeon v. Wells Fargo Bank, N.A., No. 1:12-CV-04494, 2015 WL 2255394
      (S.D.N.Y. May 11, 2015) .................................................................................................... 9

   Dupler v. Costco Wholesale Corp., 705 F. Supp. 2d 231 (E.D.N.Y. 2010) ............................. 6

   Fleisher v. Phoenix Life Ins. Co., No. 11-CV-8405 (CM), 2015 WL 10847814
       (S.D.N.Y. Sept. 9, 2015) ................................................................................................. 7, 8

   Fogarazzo v. Lehman Bros., No. 03 CIV. 5194 SAS, 2011 WL 671745 (S.D.N.Y.
      Feb. 23, 2011) ..................................................................................................................... 9

   Goldberger v. Integrated Res., Inc., 209 F.3d 43 (2d Cir. 2000).................................... 4, 5, 10

   Guippone v. BH S & B Holdings, LLC, No. 09-1029, 2011 WL 5148650 (S.D.N.Y.
      Oct. 28, 2011) ................................................................................................................... 13

   Henry v. Little Mint, Inc., No. 12 CIV. 3996 CM, 2014 WL 2199427 (S.D.N.Y. May
      23, 2014) ............................................................................................................................. 6

   Hicks v. Stanley, No. 01 CIV. 10071 (RJH), 2005 WL 2757792 (S.D.N.Y. Oct. 24,
      2005) ........................................................................................................................... 10, 13

   In re Hi-Crush Partners L.P. Sec. Litig., No. 12-CIV-8557 CM, 2014 WL 7323417
       (S.D.N.Y. Dec. 19, 2014).............................................................................................. 9, 11

   In re Lloyd’s Am. Trust Fund Litig., No. 96 CIV. 1262 RWS, 2002 WL 31663577
       (S.D.N.Y. Nov. 26, 2002) ................................................................................................... 6

   In re Marsh & McLennan Companies, Inc. Sec. Litig., No. 04 CIV. 8144 (CM), 2009
       WL 5178546 (S.D.N.Y. Dec. 23, 2009) ............................................................................. 8

   In re Polaroid, No. 03 CIV. 8335 (WHP), 2007 WL 2116398 (S.D.N.Y. July 19,
       2007) ................................................................................................................................. 13

   In re Top Tankers, Inc. Sec. Litig., No. 06 Civ. 13761, 2008 WL 2944620 (S.D.N.Y.
       July 31, 2008).................................................................................................................... 12



                                                                      ii
        Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 4 of 18



Levinson v. About.Com Inc., No. 02 CIV. 2222 DAB, 2010 WL 4159490 (S.D.N.Y.
   Oct. 7, 2010) ....................................................................................................................... 6

Maley v. Del Glob. Techs. Corp., 186 F. Supp. 2d 358 (S.D.N.Y. 2002) ................................ 9

Manley v. Midan Rest. Inc., No. 14 CIV. 1693 (HBP), 2016 WL 1274577 (S.D.N.Y.
  Mar. 30, 2016)..................................................................................................................... 6

Parker v. Time Warner Entertainment Co., L.P., 631 F.Supp.2d 242 (E.D.N.Y. 2009) ........ 13

Raniere v. Citigroup Inc., 310 F.R.D. 211 (S.D.N.Y. 2015) .................................................. 11

Roberts v. Texaco, Inc., 979 F. Supp. 185 (S.D.N.Y. 1997)................................................... 12

Shapiro v. JPMorgan Chase & Co., No. 11 CIV. 7961 CM, 2014 WL 1224666
   (S.D.N.Y. Mar. 24, 2014) ............................................................................................. 9, 11

Sheppard v. Consol. Edison Co. of N.Y., No. 94-CV-0403(JG), 2002 WL 2003206
   (E.D.N.Y. Aug. 1, 2002) ..................................................................................................... 8

Sukhnandan v. Royal Health Care of Long Island LLC, No. 12CV4216 RLE, 2014
   WL 3778173 (S.D.N.Y. July 31, 2014) ........................................................................ 4, 12

Sykes v. Harris, No. 09 CIV. 8486 (DC), 2016 WL 3030156 (S.D.N.Y. May 24,
   2016) ......................................................................................................................... 7, 8, 10

Torres v. Gristede's Operating Corp., No. 04-3316, 2010 WL 5507892 (S.D.N.Y.
   Dec. 21, 2010), aff'd, 519 Fed. App’x 1 (2d Cir. 2013) (unpublished) ............................ 13

Viafara v. MCIZ Corp., No. 12 7452, 2014 WL 1777438 (S.D.N.Y. May 1, 2014) .......... 9, 12

Wal-Mart Stores, Inc. v. Visa, U.S.A., 396 F.3d 96 (2d Cir. 2005) ...................................... 4, 9

Yuzary v. HSBC Bank USA, N.A., No. 12-3693, 2013 WL 5492998 (S.D.N.Y. Oct. 2,
   2013) ................................................................................................................................. 13

Zeltser v. Merrill Lynch & Co., No. 13 CIV. 1531 FM, 2014 WL 4816134 (S.D.N.Y.
    Sept. 23, 2014) .................................................................................................................... 9




                                                                  iii
         Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 5 of 18



I.     INTRODUCTION

       Plaintiffs TANYA MAYHEW, TANVEER ALIBHAI, and TARA FESTA (“Class

Representatives” or “Plaintiffs”) 1 have negotiated settlements with Defendants KAS DIRECT,

LLC and S.C. JOHNNSON & SON, INC. (“Defendants”) that provide substantial benefits to the

Settlement Class members, including a common Settlement Fund totaling $2,215,000 (“Settlement

Fund”) and injunctive relief requiring Defendants to make certain important and visible changes

to its product labels and website. This outcome was accomplished as a result of the dedication,

effort, and skill of Class Counsel, including their multi-year investment of time and expenses.

Plaintiffs and Class Counsel undertook this matter, on a fully contingent basis, dedicating their

time, money, and energy to thousands of consumers. (Dec. of Katherine Van Dyck (“Van Dyck

Dec.”) ⁋ 15; Dec. of Jason P. Sultzer (“Sultzer Dec.”) ⁋ 47; Dec. of Amy E. Boyle (“Boyle Dec”)

⁋ 13.) Because this case was brought by Class Counsel who regularly litigate false labeling and

other consumer protection cases, Class Counsel applied that experience to litigate this case with

exceptional efficiency. (Van Dyck Dec. ⁋⁋ 4-5, 12-16; Sultzer Dec. ⁋ 35; Boyle Dec. ⁋⁋ 3-5, 13-

14.)

       Before filing the initial complaint in this Court, Class Counsel exhaustively investigated

the viability of Plaintiffs’ claims. They prosecuted this Action through research and preparation

of multiple detailed complaints and difficult, lengthy, arms-length negotiations with defense

counsel. (Van Dyck Dec. ⁋⁋ 8, 12-16; Sulzer Dec. ⁋⁋ 5-22.) In light of the work and investment

of time and money described above, as well as the risks Plaintiffs faced and continue to face, Class

Counsel submit that this request for fees and expenses is appropriate and supported by the case



1
 All capitalized terms and phrases shall have the same meaning they have in the Joint Stipulation
of Settlement (“Settlement Agreement”).


                                                 1
         Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 6 of 18



law of this District.    Plaintiffs therefore seek an award of attorneys’ fees of $733,333.33,

reimbursement of out-of-pocket expenses of $51,993.28, and service awards totaling $7,500.00

($2,500.00 per Class Representative).

II.    LITIGATION HISTORY

       Plaintiffs filed their original complaint on September 7, 2016, alleging that Defendant KAS

Direct, LLC’s use of the name “Babyganics” on a wide range of products and the term “Mineral-

Based” on a number of its Sunscreens constituted fraudulent, unfair, unlawful, and deceptive

business practices, in violation of the laws of the States of California and New York. (Dkt. 1,

Class Action Compl. at 2-6.) Plaintiffs sought both injunctive and monetary relief. (Id. at 72.)

However, the filing of the Class Action Complaint was preceded by a year of efforts by the parties

to resolve their dispute. Counsel for Plaintiffs first sent a settlement demand letter and proposed

complaint to KAS on November 20, 2015, in accordance with California’s Consumer Legal

Remedies Act (“CLRA”). (Van Dyck Dec. ¶ 13.) The parties corresponded for several months

thereafter regarding potential settlement and ultimately agreed to a mediation with David Rotman

of Gregorio, Haldeman & Rotman in San Francisco on August 10, 2016. (Id.) The mediation was

not successful, so Plaintiffs initiated the instant lawsuit the following month. (Id; see also Dkt. 1.)

       Following the initial mediation with Mr. Rotman in 2016, the parties continued to discuss

the potential for an early settlement and agreed to attend a mediation on March 30, 2017, this time

with Michael Young of JAMS in New York. (Van Dyck Dec. ¶ 13.) Before the second mediation

Defendants produced, pursuant to a Protective Order/Confidentiality Agreement, certain sales and

marketing information to enable Class Counsel and Plaintiffs to better evaluate settlement. (Id.)

The Parties also had numerous conversations before and after the second mediation. (Sultzer Dec.

⁋⁋ 12-13.)    Counsel for Plaintiffs and Defendants attended the mediation along with a

representative of Defendants. (Id. ¶ 11.) Though the parties did not reach an agreement that day,


                                                  2
         Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 7 of 18



they continued arm’s-length settlement discussions and ultimately reached the tentative structure

of a resolution on or about May 31, 2017. (Id.) For nearly eight weeks thereafter, the Parties

continued to negotiate the terms of the Settlement. (Id. ⁋ 12.)

       Plaintiffs filed their First Amended Class Action Complaint on August 4, 2017, naming

S.C. Johnson as a Defendant. (Dkt. 37.) The same day, the Parties filed for Preliminary Approval

of the Joint Stipulation of Settlement. (Dkt. 38.) Thereafter, three groups filed Motions to

Intervene. (Dkts. 50, 52, 56). These proposed intervenors sought to disrupt the Parties’ settlement

based on lawsuits they filed either after Plaintiffs were engaged in substantive settlement

discussions or had already alerted the Court of a settlement in this action. On October 23, 2017,

the Court denied without prejudice the Motions to Intervene and set a deadline of December 1,

2017 for any renewed motions to intervene or to oppose the preliminary settlement approval. (Dkt.

96.) The attempted interventions also necessitated significant additional work by Class Counsel

in the form of a second round of preliminary approval briefing, multiple oppositions to motions to

intervene, a third in-person mediation, and numerous other discussions with counsel for

Defendants and the intervenors. Plaintiffs and Defendants attended another mediation, to which

all the intervenors were invited, in an effort to resolve their concerns, on October 5, 2017. (Van

Dyck Dec. ¶ 13.)

       This third and final in-person mediation, along with continued telephonic discussions with

Defendants and the various proposed intervenors, resulted in the resolution of all but one

intervenors’ concerns and the instant Settlement Agreement. (Id.) The Court denied the sole

remaining motion to intervene and granted preliminarily approval of the Settlement Agreement on

June 26, 2018. (Dkt. 116.) Plaintiffs also retained a damages expert to assist in understand the

price premium issues. (Van Dyck Dec. ⁋ 8.) Should final approval be granted, Plaintiffs request




                                                 3
         Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 8 of 18



an award of $733,333.33 in attorneys’ fees, which represents 33 percent of the Settlement Fund

and 1.31 percent of the lodestar incurred by Class Counsel from 2016 to the present. (Id. ⁋ 11.)

Class Counsel devoted substantial time and resources investigating and litigating this matter

against Defendants for nearly three years, and their hard work is reflected in the results they have

achieved for the Class. The fee requested is reasonable, appropriate, and consistent with other

attorneys’ fee awards in this District.

III.    LEGAL STANDARD

        “Where relatively small claims can only be prosecuted through aggregate litigation, and

the law relies on prosecution by ‘private attorneys general,’ attorneys who fill the private attorney

general role must be adequately compensated for their efforts.” Sukhnandan v. Royal Health Care

of Long Island LLC, No. 12CV4216 RLE, 2014 WL 3778173, at *9 (S.D.N.Y. July 31, 2014).

This Court may apply either the lodestar method or the percentage-of-the-fund method in

evaluating Plaintiffs’ request for attorneys’ fees. Goldberger v. Integrated Res., Inc., 209 F.3d 43,

47, 50 (2d Cir. 2000); accord Blessing v. Sirius XM Radio Inc., 507 F. App’x 1, 4 (2d Cir. 2012).

In “common fund” cases such as this, “[c]ourts in the Second Circuit tend to grant class counsel a

percentage of any settlement, rather than utilize the ‘lodestar method,’ because the percentage

method aligns the interests of the class and its counsel and provides a powerful incentive for the

efficient prosecution and early resolution of the litigation.” Goldberger, 209 F.3d at 220 (citing

Wal-Mart Stores, Inc. v. Visa, U.S.A., 396 F.3d 96 (2d Cir. 2005)). “The lodestar method, on the

other hand, disincentivizes early settlements, tempts lawyers to run up their hours, and ‘compels

district courts to engage in a gimlet-eyed review of line-item fee audits.’” Id. In evaluating the

percentage requested, courts are “guided by the traditional criteria in determining a reasonable

common fund fee, including: ‘(1) the time and labor expended by counsel; (2) the magnitude and

complexities of the litigation; (3) the risk of the litigation . . . ; (4) the quality of representation;


                                                   4
         Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 9 of 18



(5) the requested fee in relation to the settlement; and (6) public policy considerations.’”

Goldberger, 209 F.3d at 50 (the “Goldberger reasonableness factors”); accord Blessing, 507 F.

App’x at 4.

IV.     ARGUMENT

        A.     The Requested Fee Is Reasonable and Appropriate.

               1.      The time and labor expended by Class Counsel.

        Class Counsel have, to date, expended 925.20 hours litigating this matter, accruing a

lodestar of $561,189.00, and incurred $51,993.28 in expenses. (Van Dyck Dec. ⁋ 11.)               This

reflects the pre-suit investigation conducted by Class Counsel and their early attempts to resolve

the matter. It also reflects the significant work that went into to preparing the original Class Action

Complaint, which alleged that Defendant KAS engaged in unlawful, unfair, deceptive, and

misleading business practices with respect to a wide range of Products. (Id. ⁋ 8.) Finally, the

hours expended by Class Counsel reflect the considerable efforts they made to achieve an early

resolution of this litigation and avoid the risks that are inherent in class action and false labeling

litigation, including attending three in-person mediations in San Francisco and California, analysis

of product and sales data, and successfully resolving three different motions to intervene. (Van

Dyck Dec. ⁋⁋ 8, 12-13.)    2
                               This time and expense favors awarding Class Counsel the requested

fees.




2
  Plaintiffs’ counsel will also spend additional time working on the settlement administration and
resolving the inevitable issues that arise in a project of this size for which they will not be
compensated. Also, the time reflected above does not include time spent on preparing this
application.


                                                  5
        Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 10 of 18



               2.      The magnitude and complexities of the litigation.

       “‘Most class actions are inherently complex and settlement avoids the costs, delays and

multitude of other problems associated with them.’” Henry v. Little Mint, Inc., No. 12 CIV. 3996

CM, 2014 WL 2199427, at *7 (S.D.N.Y. May 23, 2014) (citation omitted). Without early

settlement, Plaintiffs would have faced motions to dismiss, lengthy and costly factual and expert

discovery, motions to compel and for summary judgment, a contested class certification process,

and eventually trial. Manley v. Midan Rest. Inc., No. 14 CIV. 1693 (HBP), 2016 WL 1274577, at

*9 (S.D.N.Y. Mar. 30, 2016); Dupler v. Costco Wholesale Corp., 705 F. Supp. 2d 231, 239

(E.D.N.Y. 2010). The class certification and expert testimony motion practice would, as explained

in the motion for final approval, present difficult obstacles to classwide recovery at trial. By

obtaining early resolution, Class Counsel have “avoid[ed] a significant expense and delay and

ensure[ed] a recovery for the class.” Levinson v. About.Com Inc., No. 02 CIV. 2222 DAB, 2010

WL 4159490, at *3 (S.D.N.Y. Oct. 7, 2010). This satisfies Goldberger and favors approval of

Class Counsels’ attorneys’ fees. Id.

               3.      The risk of litigation.

       Courts in this Circuit recognize the enormous risk that the comes with litigating a case on

a contingency fee basis. In re Lloyd’s Am. Trust Fund Litig., No. 96 CIV. 1262 RWS, 2002 WL

31663577, at *27-28 (S.D.N.Y. Nov. 26, 2002); Cunningham v. Suds Pizza, Inc., 290 F. Supp. 3d

214, 230 (W.D.N.Y. 2017). In the instant case, Class Counsel have not received any compensation

for over two years of work on this case, and there was, of course, the risk that they might never be

compensated. “[T]he resolution of liability issues, the outcome of the trial, and the inevitable

appeals process are inherently uncertain in terms of outcome and duration. The proposed

settlement alleviates this uncertainty.” Henry, 2014 WL 2199427, at *9 (internal citation omitted).




                                                 6
        Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 11 of 18



This assumption of a lengthy and significant risk on behalf of the Settlement Class supports the

requested $733,333.33 fee.

               4.      The quality of representation.

       In considering this factor, courts “review, among other things, the recovery obtained and

the backgrounds of the lawyers involved in the lawsuit.” Sykes v. Harris, No. 09 CIV. 8486 (DC),

2016 WL 3030156, at *17 (S.D.N.Y. May 24, 2016) (citation omitted). These considerations are

important factors to consider in evaluating a fee request. Fleisher v. Phoenix Life Ins. Co., No.

11-CV-8405 (CM), 2015 WL 10847814, at *21 (S.D.N.Y. Sept. 9, 2015) (“Courts have

consistently recognized that the result achieved is a major factor to be considered in making a fee

award and in assessing the quality of the representation.”); see also Behrens v. Wometco Enters.,

Inc., 118 F.R.D. 534, 547-48 (S.D. Fla. 1988) (“Perhaps no better indicator of the quality of

representation here exists than the result obtained. The quality of work performed in a case that

settles before trial is best measured by the benefit obtained.”) (footnote omitted).

       Here, the goals of the litigation were to remedy Defendants’ allegedly false and misleading

marketing and labeling of the Products and to provide monetary compensation to the Settlement

Class Members. Class Counsel’s work in the litigation achieved both goals. Settlement Class

Members are “entitled to a cash refund in the amount of one hundred percent (100%) of any

purchase of a Covered Product for which a Proof of Purchase during the Class Period is provided.”

(Dkt. 101-1, Am. Settlement Agreement at 16.) Settlement Class Members without Proofs of

Purchase may recover for up to eight products purchased during the Class Period, subject to certain

pro rata adjustments. (Id.)

       In looking at the percentage requested, courts should consider the full value of the relief

obtained, including the extensive injunctive relief like that agreed to here. Sykes, 2016 WL

3030156, at *17. Defendants have agreed to widespread label changes, some of which will apply


                                                  7
         Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 12 of 18



to the entire “Babyganics” product line, as well as additional disclosures on the “Babyganics”

website. (Dkt. 101-1, Am. Settlement Agreement at 21-22.) These label changes will impact

millions of products and permit consumers to make more informed purchasing decisions.

Moreover, Defendants have agreed to improve their quality control procedures and “conduct

testing of each batch of applicable sunscreen to determine the levels of active ingredients.” (Id. at

21.) This relief is not toothless or symbolic. Defendants will send Class counsel, on an annual

basis for three years, “an affirmation that they are incompliance with [the testing] provision,” and

the label changes will remain in place for the life of the Covered Products. (Id. at 21-22.) Such

relief will protect consumers for years to come and prevent future deceptive advertising practices.

This valuable injunctive relief supports the fee application. Sykes, 2016 WL 3030156, at *17;

Sheppard v. Consol. Edison Co. of N.Y., No. 94-CV-0403(JG), 2002 WL 2003206, at *7 (E.D.N.Y.

Aug. 1, 2002); see also Fleisher, 2015 WL 10847814, at *10 (“The overall value of the settlement

comprises monetary as well as non-monetary relief.”); Blessing v. Sirius XM Radio Inc., 507 F.

App’x at 5 (approving attorneys’ fees where settlement included no monetary relief for class);

Velez v. Novartis Pharm. Corp., No. 04 CIV 09194 CM, 2010 WL 4877852, at *15 (S.D.N.Y.

Nov. 30, 2010) (recognizing the non-monetary value of implementing reforms to employment

practices).

       The substantial experience of Class Counsel in prosecuting consumer protection class

action cases was an important factor in achieving these significant objectives. Defendants

employed highly skilled and highly regarded counsel from prestigious law firms. See In re Marsh

& McLennan Companies, Inc. Sec. Litig., No. 04 CIV. 8144 (CM), 2009 WL 5178546, at *19

(S.D.N.Y. Dec. 23, 2009) (reasonableness of fee was supported by fact that defendants “were

represented by first-rate attorneys who vigorously contested Lead Plaintiffs’ claims and




                                                 8
        Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 13 of 18



allegations”). Thus, the Plan of Distribution and Injunctive Relief required creativity, diligence,

hard work, persistence, and skill. Indeed, Class Counsel have a proven track record in the

prosecution of class actions, and they have successfully litigated many major class action cases.

(Van Dyck Dec. ⁋⁋ 4-5; Sultzer Dec. ⁋ 35; Boyle Dec. ⁋⁋ 3-5). Accordingly, this factor militates

in favor of Plaintiffs’ motion.

               5.      The requested fee in relation to the settlement.

       Class Counsel’s request for $733,333.33 amounts to 33 percent of the Settlement Fund.

This percentage is consistent with attorneys’ fee awards in the Second Circuit. See DeLeon v.

Wells Fargo Bank, N.A., No. 1:12-CV-04494, 2015 WL 2255394, at *6 (S.D.N.Y. May 11, 2015)

(collecting cases); In re Hi-Crush Partners L.P. Sec. Litig., No. 12-CIV-8557 CM, 2014 WL

7323417, at *12 (S.D.N.Y. Dec. 19, 2014) (same); Zeltser v. Merrill Lynch & Co., No. 13 CIV.

1531 FM, 2014 WL 4816134, at *8 (S.D.N.Y. Sept. 23, 2014) (same); Viafara v. MCIZ Corp., No.

12 7452, 2014 WL 1777438, at *9-15 (S.D.N.Y. May 1, 2014) (same); Fogarazzo v. Lehman Bros.,

No. 03 CIV. 5194 SAS, 2011 WL 671745, at *4 (S.D.N.Y. Feb. 23, 2011) (same).

       The lodestar cross-check confirms the reasonableness of the requested award. Counsel

expended 925.20 hours and incurred a lodestar of $561,189.00. (Van Dyck Dec. ⁋⁋ 6, 11; Sultzer

Dec. ⁋ 36; Boyle Dec. ⁋ 7.) The requested $733,333.33 therefore represents approximately 1.31

percent of the total lodestar. Zeltser, 2014 WL 4816134, at *9-10 (approving multiplier of 5.1 and

citing numerous cases, including cases where the multiplier is as high as 19.6); Shapiro v.

JPMorgan Chase & Co., No. 11 CIV. 7961 CM, 2014 WL 1224666, at *24 (S.D.N.Y. Mar. 24,

2014) (approving multiplier of 3.05); Dupler at 245 (noting multipliers of over 4 “routinely

awarded by courts”); WalMart Stores, Inc., 396 F.3d at 123 (approving multiplier of 3.5 on appeal);

Maley v. Del Glob. Techs. Corp., 186 F. Supp. 2d 358, 369 (S.D.N.Y. 2002) (finding multiplier of

4.65 was reasonable). In addition, this multiplier will ultimately be lower as Class Counsel


                                                9
         Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 14 of 18



perform additional work through the final approval process and administration of the Settlement

Fund.

        Class Counsel took meaningful steps to ensure that their work was efficient, and because

they reached a settlement before engaging in motion practice and discovery and litigating class

certification, their cumulative lodestar of $561,189.00 is far less than that seen in other class action

matters litigated in this District.    Class Counsel have reviewed their time records prior to

submitting this motion and eliminated time entries that were incorrect, inefficient, or duplicative.

(Van Dyck Dec. ⁋ 12; Sulzer Dec. ⁋ 46; Boyle Dec. ⁋ 8). Because the Settlement Agreement does

not allow for reversion of funds, the remainder (which should exceed $1 million after accounting

for attorneys’ fees and expenses, the administrator fee, and service awards) will be distributed to

the Settlement Class members. This further confirms its reasonableness.

                6.      Public policy considerations.

        “There is . . . commendable sentiment in favor of providing lawyers with sufficient

incentive to bring common fund cases that serve the public interest.” Sykes, LLC, 2016 WL

3030156, at *17 (citing Goldberger, 209 F.3d at 51). Here, the Settlement Agreement promotes,

and in fact requires, compliance with consumer protection laws by enjoining Defendants to

improve their labels and their website.

        Such actions could not be sustained if plaintiffs’ counsel were not to receive
        remuneration from the settlement fund for their efforts on behalf of the class. Due
        to the dispersed, and relatively small, losses . . . , the class action mechanism and
        its associated percentage-of-recovery fee award solve the collective action problem
        otherwise encountered by which it would not be worthwhile for individual[s] . . . to
        take the time and effort to initiate the action. “To make certain that the public is
        represented by talented and experienced trial counsel, the remuneration should be
        both fair and rewarding.

Hicks v. Stanley, No. 01 CIV. 10071 (RJH), 2005 WL 2757792, at *9 (S.D.N.Y. Oct. 24, 2005).




                                                  10
        Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 15 of 18



        In sum, the Goldberger factors support Plaintiffs’ fee request. The requested fees were

negotiated after the Parties had reached agreement on the terms of the Settlement benefitting the

Settlement Class Members and were negotiated at arms’ length. (Van Dyck Dec. ⁋ 14; Sulzer Dec.

⁋⁋ 13-14.) See also Shapiro, 2014 WL 1224666, at *25 (“That the Attorneys’ Fee Payment was

later separately negotiated weighs in favor of its reasonableness.”). In short, Plaintiffs’ motion

seeks reasonable and appropriate fees that align with amounts previously approved by this Court,

and there is no reason why Plaintiffs’ motion should not be granted.

        B.     Class Counsel Should be Reimbursed for Their Reasonable Litigation
               Expenses.

        “It is well-settled that attorneys may be compensated for reasonable out-of-pocket

expenses incurred and customarily charged to their clients, as long as they were incidental and

necessary to the representation of those clients.” Raniere v. Citigroup Inc., 310 F.R.D. 211, 222

(S.D.N.Y. 2015) (citation omitted); see also In re Hi-Crush Partners L.P. Sec. Litig., 2014 WL

7323417, at *19 (“Because the expenses here were incurred with no guarantee of recovery, Lead

Counsel had a strong incentive to keep them at a reasonable level, and did so.”). Class Counsel

have expended $51,993.28 in costs, for which they should now be reimbursed. (Van Dyck Dec. ⁋⁋

10-11; Sulzer Dec. ⁋ 39; Boyle Dec. ⁋ 4.) These costs, which included costs for professional

mediators and necessary travel, were integral to the prosecution of the case, and they also include

costs associated with three mediation sessions as part of the process of reaching a resolution of the

Action. (Van Dyck Dec. ⁋ 12; Sultzer Dec. ⁋ 43; Boyle Dec. ⁋ 12.) For these reasons, Class

Counsels’ expenses were reasonable and necessary and should be reimbursed from the Settlement

Fund.




                                                 11
        Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 16 of 18



       C.      Class Representatives Should Receive Service Awards Totaling $7,500.

       Class Counsel request service awards for the Class Representatives totaling $7,500.00

($2,500.00 each). Providing service awards to consumers who come forward to represent a class

is a necessary and important component of any class action settlement. “Service awards are

common in class action cases and serve to compensate plaintiffs for the time and effort expended

in assisting the prosecution of the litigation, the risks incurred by becoming and continuing as a

litigant, and any other burdens sustained by the plaintiffs.” Viafara v. MCIZ Corp., 2014 WL

1777438, at *16 (citation omitted); Sukhnandan, 2014 WL 3778173, at *16. In examining the

reasonableness of service awards, courts consider (1) the time and effort expended by the class

representatives during the litigation; (2) any burdens sustained by the class representatives; and

(3) the ultimate recovery. Roberts v. Texaco, Inc., 979 F. Supp. 185, 200 (S.D.N.Y. 1997).

       Here, Class Counsel respectfully request that the Court approve the payment of a service

award to Plaintiffs in the amount of $2,500 each for the time and effort they spent assisting the

prosecution of this Action on behalf of the Class. Plaintiffs demonstrated an understanding of both

the basis of the claims and the role of Class Representatives. (Van Dyck Dec. ⁋ 16; Sultzer Dec.

⁋ 48; Boyle Dec. ⁋ 14.) They conferred with Class Counsel concerning the status of the case, the

Complaint and amendments thereto, and the Settlement. (Van Dyck Dec. ⁋ 16; Sultzer Dec. ⁋ 48;

Boyle Dec. ⁋ 14.) They provided personal information about their experiences with the Covered

Products and remained involved in the mediation process, demonstrating dedication to their fellow

class members and this case. (Van Dyck Dec. ⁋ 16; Sultzer Dec. ⁋ 48; Boyle Dec. ⁋ 14.)

Defendants have agreed not to contest the service award requested.

       The requested service award of $2,500 each is well deserved and fall well within the range

of incentive awards approved in prior cases. See, e.g., In re Top Tankers, Inc. Sec. Litig., No. 06

Civ. 13761, 2008 WL 2944620 (S.D.N.Y. July 31, 2008) (award of $3,000 to lead plaintiff out of


                                                12
        Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 17 of 18



$1.2 million settlement); Parker v. Time Warner Entertainment Co., L.P., 631 F.Supp.2d 242, 276

(E.D.N.Y. 2009) (“Given the minimal amount of the [$2,500] awards [and] the time and effort the

Representative Plaintiffs expended in bringing this suit on behalf of the Class ... the Court approves

them.”); Hicks, 2005 WL 2757792, at *11 (award of $7,500 to lead plaintiff out of $10 million

settlement). In fact, they fall well below the awards regularly approved in the Second Circuit. See

Yuzary v. HSBC Bank USA, N.A., No. 12-3693, 2013 WL 5492998, at *12 (S.D.N.Y. Oct. 2, 2013)

(awarding $10,000 each to named plaintiffs); Guippone v. BH S & B Holdings, LLC, No. 09-1029,

2011 WL 5148650, at *8 (S.D.N.Y. Oct. 28, 2011) (awarding class representative $10,000 service

award from $900,000 settlement because he “assisted with the preparation of the complaints,

provided counsel with relevant documents in their possession and assisted counsel in the

investigation of his claims[, and] was deposed by defendant Holdco”); Torres v. Gristede's

Operating Corp., No. 04-3316, 2010 WL 5507892, at *7 (S.D.N.Y. Dec. 21, 2010), aff'd, 519 Fed.

App’x 1 (2d Cir. 2013) (unpublished) (approving service awards of $15,000 each for 15 named

plaintiffs, comprising 6.4% of the $3.5 million settlement); Clark v. Ecolab Inc., No. 04-4488,

2010 WL 1948198, at *6 (S.D.N.Y. May 11, 2010) (granting service awards of $10,000 to each of

the seven named plaintiffs); In re Polaroid, No. 03 CIV. 8335 (WHP), 2007 WL 2116398, at *3

(S.D.N.Y. July 19, 2007) (citation omitted) (noting case law supports payments of between $2,500

and $85,000 to representative plaintiffs in class actions).

       These awards were fully disclosed in the notice to the Settlement Class Members are

reasonable under the jurisprudence of this Court. Plaintiffs’ therefore respectfully request that

they be awarded $2,500 each for their service to the Settlement Class.

V.     CONCLUSION

       In sum, the attorneys’ fees sought here comprise only one third of the Settlement Fund and

1.31 percent of the cumulative lodestar incurred by counsel while the proposed service awards are


                                                 13
        Case 7:16-cv-06981-VB Document 133 Filed 09/26/18 Page 18 of 18



well below those sought in similar matters. For the foregoing reasons, Plaintiffs respectfully

request that this Court award attorneys’ fees of $733,333.33 in attorneys’ fees, litigation expenses

in the amount of $51,993.28, and service awards totaling $7,500.00 for the Class Representatives.



Dated: September 26, 2018                                CUNEO GILBERT & LADUCA, LLP


                                                  By:      s/ Charles J. LaDuca
                                                            Charles J. LaDuca (Bar ID # 3975927)
                                                                             Katherine Van Dyck
                                                          4725 Wisconsin Avenue, NW, Suite 200
                                                                           Washington, DC 20016
                                                                             Tel: (202) 789-3960
                                                                             Fax: (202) 789-1813
                                                                          charlesl@cuneolaw.com
                                                                         kvandyck@cuneolaw.com

                                                           THE SULTZER LAW GROUP P.C.
                                                             Jason P. Sultzer (Bar ID #: JS4546)
                                                                85 Civic Center Plaza, Suite 104
                                                                       Poughkeepsie, NY 12601
                                                                            Tel: (845) 483-7100
                                                                            Fax: (888) 749-7747
                                                               sultzerj@thesultzerlawgroup.com

                                                                               HALUNEN LAW
                                                                                    Amy E. Boyle
                                                                                 1650 IDS Center
                                                                             80 South Eight Street
                                                                          Minneapolis, MN 55402
                                                                       Telephone: (612) 605-4098
                                                                        Facsimile: (612) 605-4099
                                                                          boyle@halunenlaw.com




                                                14
